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                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

         In Re: Federal Energy Regulatory              )
         Commission, Building For The Future           )
         Through Electric Regional Transmission        )
         Planning And Cost Allocation, 187 FERC        )
         61,068 Issued May 13, 2024, And Denial        )         MCP No. 190
         Of Rehearing By Operation Of Law And          )
         Providing For Further Consideration, 188      )
         FERC 62,025 July 15, 2024                     )
                                                       )
                                                       )

                                                       )
                                                       )
         Appalachian Voices,                           )

                                  Petitioner,

                      v.                                      Case No. 24-1650

         Federal Energy Regulatory Commission,

                             Respondent.
         _________________________________


               MOTION OF PPL ELECTRIC UTILITIES CORPORATION
              FOR LEAVE TO INTERVENE ON BEHALF OF RESPONDENT

              Pursuant to Rules 15(d) and 27 the Federal Rules of Appellate Procedure, and

        Circuit Rules 15(b) and 27 of the United States Court of Appeals for the Fourth

        Circuit, PPL Electric Utilities Corporation (“PPL Electric”) hereby moves for leave

        to intervene in the above-captioned consolidated docket. PPL Electric intends this

        intervention to include all of the petitions that have been or will be consolidated into
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        this docket pursuant to the Multidistrict Panel’s August 8, 2024 Order or any future

        order. PPL Electric obtained written consent to this motion from Petitioners’

        counsel on August 13, 2024.

                                                       I.

              On July 16, 2024, Petitioners Appalachian Voices, et al. filed a petition for

        review of the following order of the Federal Energy Regulatory Commission:

        Building For The Future Through Electric Regional Transmission Planning And

        Cost Allocation, 187 FERC ¶ 61,068 (May 13, 2024). The Commission issued a

        Notice of Denial Of Rehearing By Operation Of Law And Providing For Further

        Consideration, 188 FERC ¶ 62,025, on July 15, 2024. On August 2, 2024, the

        Judicial Panel on Multidistrict Litigation received, pursuant to 28 U.S.C. §

        2112(a)(3), a notice of multicircuit petitions for review of that order. The notice

        included petitions pending in the following nine courts of appeal: First Circuit,

        Second Circuit, Fourth Circuit, Fifth Circuit, Sixth Circuit, Seventh Circuit, Ninth

        Circuit, Eleventh Circuit and District of Columbia Circuit. The Panel randomly

        selected this Court as the one in which to consolidate these petitions for review, and

        on August 8, 2024, consolidated all the petitions in this Court, and designated it as

        the circuit in which the record is to be filed pursuant to Rules 16 and 17 of the Federal

        Rules of Appellate Procedure.




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               The orders from which Petitioner seeks review establish new rules addressing

        how transmission providers must conduct long-term planning for regional

        transmission facilities and how to allocate costs for long-term regional transmission

        facilities.

                                                        II.

               PPL Electric owns transmission facilities operated under the direction of PJM

        Interconnection, L.L.C. (“PJM”) and provides access to these facilities through the

        PJM Open Access Transmission Tariff (“PJM Tariff”). PPL Electric is a signatory

        to the PJM Operating Agreement and PJM Consolidated Transmission Owners

        Agreement. PPL Electric is also a load-serving entity in PJM. Load-serving entities

        take transmission service over facilities under PJM’s operational control in

        accordance with the rates and terms of the PJM Tariff. The orders below will

        directly affect PPL Electric’s participation in these markets.

                                                 III.

               PPL Electric intervened in the FERC proceedings under review. As a

        transmission owner and market participant in PJM, PPL Electric has a direct and

        substantial interest in this case that cannot be adequately represented by any other

        party, and would be directly affected by any decision in this case. This motion to

        intervene is timely filed within 30 days of the filing of the petition for review and

        will not delay the proceedings in this case or cause prejudice to any party. No other


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        party will adequately represent PPL Electric’s interests. As a result, intervention is

        appropriate. See Fund for Animals, Inc. v. Norton, 322 F.3d 728, 734-35 (D.C. Cir.

        2003) (noting that adequate representation is a “minimal” and “not onerous”

        standard under which intervention “ordinarily should be allowed”) (citing Trbovich

        v. United Mine Workers, 404 U.S. 528, 538 n.10 (1972), Dimond v. District of

        Columbia, 792 F.2d 179, 192 (D.C. Cir. 1986), and United States v. American Tel.

        & Tel. Co., 642 F.2d 1285, 1293 (D.C. Cir. 1980)); United Guar. Residential Ins.

        Co. of Iowa v. Philadelphia Sav. Fund Soc., 819 F.2d 473, 475 (4th Cir. 1987) (citing

        Trbovich’s “minimal” burden of showing of inadequacy of representation and

        allowing intervention when representation “may be” inadequate). See also Fund for

        Animals, 322 F.3d at 736 (noting that governmental entities often “do not adequately

        represent the interests of aspiring intervenors”).




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              WHEREFORE, for the reasons set forth above, PPL Electric respectfully

        requests that this Court grant its Motion to Intervene.



                                                             Respectfully submitted,


                                                              /s/ John Longstreth
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        Dated: August 14, 2024




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                    UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT

                                           DISCLOSURE STATEMENT

        x    In civil, agency, bankruptcy, and mandamus cases, a disclosure statement must be filed by all
             parties, with the following exceptions: (1) the United States is not required to file a disclosure
             statement; (2) an indigent party is not required to file a disclosure statement; and (3) a state
             or local government is not required to file a disclosure statement in pro se cases. (All parties
             to the action in the district court are considered parties to a mandamus case.)
        x    In criminal and post-conviction cases, a corporate defendant must file a disclosure statement.
        x    In criminal cases, the United States must file a disclosure statement if there was an
             organizational victim of the alleged criminal activity. (See question 7.)
        x    Any corporate amicus curiae must file a disclosure statement.
        x    Counsel has a continuing duty to update the disclosure statement.


            24-1650
        No. __________             Caption: __________________________________________________
                                            Appalachian Voices, et al. v. Federal Energy Regulatory Commission

        Pursuant to FRAP 26.1 and Local Rule 26.1,

        ______________________________________________________________________________
        PPL Electric Utilities Corporation
        (name of party/amicus)

        ______________________________________________________________________________

         who is _______________________,
                          intervenor          makes the following disclosure:
        (appellant/appellee/petitioner/respondent/amicus/intervenor)


        1.      Is party/amicus a publicly held corporation or other publicly held entity?            YES ✔ NO


        2.      Does party/amicus have any parent corporations?                                ✔ YES      NO
                If yes, identify all parent corporations, including all generations of parent corporations:

                 PPL Electric Utilities Corporation is a wholly-owned, indirect subsidiary of PPL Corporation. The
                 Company is 100% owned by PPL Energy Holdings, LLC, a Delaware limited liability company,
                 which in turn is 100% owned by PPL Subsidiary Holdings, LLC, a Delaware limited liability
                 company, which in turn is 100% owned by PPL Corporation.

        3.      Is 10% or more of the stock of a party/amicus owned by a publicly held corporation or
                other publicly held entity?                                                 YES ✔ NO
                If yes, identify all such owners:




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        4.    Is there any other publicly held corporation or other publicly held entity that has a direct
              financial interest in the outcome of the litigation?                              YES ✔ NO
              If yes, identify entity and nature of interest:




        5.    Is party a trade association? (amici curiae do not complete this question)     YES ✔ NO
              If yes, identify any publicly held member whose stock or equity value could be affected
              substantially by the outcome of the proceeding or whose claims the trade association is
              pursuing in a representative capacity, or state that there is no such member:




        6.    Does this case arise out of a bankruptcy proceeding?                                   YES ✔ NO
              If yes, the debtor, the trustee, or the appellant (if neither the debtor nor the trustee is a
              party) must list (1) the members of any creditors’ committee, (2) each debtor (if not in the
              caption), and (3) if a debtor is a corporation, the parent corporation and any publicly held
              corporation that owns 10% or more of the stock of the debtor.




        7.    Is this a criminal case in which there was an organizational victim?                YES ✔ NO
              If yes, the United States, absent good cause shown, must list (1) each organizational
              victim of the criminal activity and (2) if an organizational victim is a corporation, the
              parent corporation and any publicly held corporation that owns 10% or more of the stock
              of victim, to the extent that information can be obtained through due diligence.




                   /s/ John Longstreth
        Signature: ____________________________________                     Date: ___________________
                                                                                        8/14/2024

                     PPL Electric Utilities Corporation
        Counsel for: __________________________________




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                                    CERTIFICATE OF SERVICE


              In accordance with Rules 15(d) and 25 of the Federal Rules of Appellate

        Procedure, I hereby certify that on this 14th day of August, 2024, I electronically

        filed the foregoing Motion to Intervene and Corporate Disclosure Statement of PPL

        Electric Utilities Corporation with the Clerk of the Court for the United States Court

        of Appeals for the Fourth Circuit by using the CM/ECF system. Participants in the

        case who are registered CM/ECF users will be served by the CM/ECF system.



                                               /s/ John Longstreth
                                               John Longstreth
